                UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                       Civil No: 1:12-cv-333

KENNETH L. HUNTER, RICK              )
A. DONATHAN, AND JERRY D.            )
MEDLIN,                              )
         Plaintiffs,                 )
                                     )
      v.                             )           PLAINTIFFS’
                                     )     MEMORANDUM IN SUPPORT OF
TOWN OF MOCKSVILLE,                  )     MOTION FOR JUDGMENT AND
NORTH CAROLINA; ROBERT               )        EQUITABLE RELIEF
W. COOK, in his official capacity    )
as Administrative Chief of Police of )
the Mocksville Police Department     )
and in his individual capacity;      )
CHRISTINE BRALLEY, in her            )
official capacity as Town Manager )
of the Town of Mocksville and in     )
her individual capacity,             )
             Defendants.             )

__________________________________________________________________


                       PROCEDURAL BACKGROUND

          Plaintiffs filed this action seeking damages, pursuant to federal and state

law, for violations of their rights under the First Amendment of the United States

Constitution, violation of their rights under Article I, §§ 1 and 14 of the North

Carolina Constitution, and their wrongful terminations in violation of the public

policy of North Carolina.




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          In an eight-day trial which began on May 2, 2016, and concluded on

May 11, 2016, the jury found each defendant liable to each plaintiff for the loss of

his employment. The jury awarded each plaintiff compensatory damages, punitive

damages, and rendered advisory verdicts on front pay.

                FACTS SUPPORTING EQUITABLE RELIEF

      Plaintiffs have established that each plaintiff was a long-term officer of

Mocksville Police Department (MPD), each had an exemplary record, and none of

the three had received notice of any grounds for termination. While Major Hunter

had been removed from a second-in-command position as Assistant Chief,

defendants have denied that it was a demotion, and the move did not affect his

compensation or rank. Plaintiff Donathan was promoted in the same restructuring,

and had been told by Chief Cook on several occasions in the month preceding his

termination that he was an excellent officer who would be in line for a captain

position in the future. While Detective Medlin had raised issues of public concern

in the past, there was no indication that his employment was in jeopardy at the time

of the terminations. The evidence showed that, prior to plaintiffs, no officer had

ever been fired under Chief Robert Cook.

      In addition to each plaintiff having substantial job security at MPD, due to

the terminations, and as evidenced during trial, each of the three has experienced

enormous difficulty in attempting to reestablish himself in a law enforcement


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career. Neither plaintiff Medlin nor plaintiff Hunter has been given a chance to

revive his career, and the only opportunity plaintiff Donathan was able to secure

was untenable as a living situation for his family. Suffice it to say, reinstatement is

quite possibly the only means plaintiffs have of recovering the careers in law

enforcement that they spent years building.

                                   DISCUSSION

      As stated, the plaintiffs’ federal claims against the individual defendants are

based on 42 U.S.C. § 1983. That section provides that a public employee who is a

prevailing plaintiff in proving that the defendant violated his constitutional rights

in terminating his employment is entitled to all relief in order to be made whole.

Such relief includes back pay, other compensatory damages, punitive damages and

any equitable relief which the Court may deem appropriate. Equitable relief

specifically includes reinstatement to the position from which he was

terminated. Duke v. Uniroyal, Inc., 928 F.2d 1413 (1991).

      The make-whole doctrine, which evolved as a part of discrimination laws

under Title VII and the ADEA, clearly applies to § 1983 cases as well. As the

Court states in Squires v. Bonser, 54 F.3d 168 (1995), “The same is true under §

1983: the make-whole goal ‘[does] not differ when the basis of the underlying right

is the Constitution rather than a statute such as Title VII.’” Squires, 54 F.3d at 172

(quoting Gurmankin v. Constanzo, 626 F.2d 1115 (3d Circuit 1980). Courts are


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clear that the same considerations that form the framework for make-whole relief

under discrimination laws apply to citizens who are the victims of constitutional

violations as well. As the Squires court notes, “…the central goals of make-whole

relief and deterrence must guide a district court’s consideration of reinstatement

under both.” Squires, 54 F.3d at 172. Using that rationale, the goal in the instant

case is to make each plaintiff whole, in whatever form that may require.

      In Uniroyal, the Fourth Circuit echoed most other circuits in stating that

reinstatement is the "preferred" remedy. In determining reinstatement, the Court

must consider whether reinstatement is feasible or whether circumstances exist that

may make reinstatement either impossible or inappropriate.         The Court notes

several possibilities rendering reinstatement inappropriate, such as “extreme

hostility that, as a practical matter, a productive and amicable working relationship

would be impossible,” EEOC v. Prudential Fed. Sav. & Loan Ass'n, 763 F.2d

1166, 1172 (1985), or when the litigation itself created such animosity between the

parties that any potential employer-employee relationship was irreparably

damaged, or when there was no comparable position available. See Whittlesey v.

Union Carbide Corp., 742 F.2d 724, 728 (2d Cir. 1984).

      The purpose of equitable remedies in cases such as the instant one is to put

plaintiffs in the positions they would occupied had defendants not violated their

rights. As the Court states in Koyen v. Consolidated Edison Co., 560 F.Supp. 1161


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(1983):

          The manifest purpose of this broad grant of legal and equitable
          power is to enable the courts to fashion whatever remedy is
          required to fully compensate an employee for the economic injury
          sustained by him. The power so granted is sufficient to authorize
          an award of future loss of earnings in appropriate cases. To deny
          that authority would defeat a purpose of the Act to make a victim
          of discrimination "whole" and to restore him to the economic
          position he would have occupied but for the unlawful conduct of
          his employer. To deny such authority would remove a deterrent
          force against future violations.

      Similarly, under state law, North Carolina Courts have provided avenues for

both equitable relief in the form of reinstatement, and legal relief in the form of

front pay. In terms of front pay, the North Carolina Court of Appeals directly

addressed and resolved the issue of future damages in their decision in Blakely v.

Town of Taylortown, 233 N.C. App. (2014). See also, Corum v. University of

North Carolina, 330 N.C. 761 (1992), reinstatement is part of the arsenal a trial

judge possesses when crafting relief for a particular plaintiff: “…such redress

could consist of, inter alia, reinstatement to his prior status or a comparable

status…” Corum, 330 N.C. at 784.

      Accordingly, across the country—whether a plaintiff’s discharge is found to

be unlawfully discriminatory or in violation of his constitutional rights—at the

foundation of equitable relief is a commitment on the part of the courts to make

whole those whose rights have been violated. See, e.g., 29 U.S.C. § 626(b). Under

the Age Discrimination of Employment Act, Congress grants the court broad
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powers in awarding legal and equitable relief, stating that “the Court shall have

jurisdiction to grant such legal or equitable relief as may be appropriate to

effectuate the purposes of this chapter, including, without limitation judgments

compelling employment, reinstatement or promotion…” Courts consistently cite

the remedial nature of equitable relief, and the flexibility and latitude that the Court

must have in administering that relief. Without that power, a prevailing plaintiff

could not be made whole, by being fully restored to his former position, or

awarded full front pay in the event reinstatement is inappropriate, and the deterrent

effect would be lost. Duke v. Uniroyal, Inc., 928 F.2d 1413 (1991).

      As stated above, there may be obstacles to the feasibility and practicality of

reinstatement. Fortunately, however, the law gives the Court great latitude in

making plaintiffs whole, whatever that means in a particular case. In the instant

case, plaintiffs should be reinstated, but in order to be made whole, and to make

reinstatement feasible, each should be reinstated to the same rank, with pay that

bridges the raises customary over the four and a half years they have been out of

work. Because of the rigid hierarchy in a police department, and the fixed chain of

command, reinstatement to the lower ranks is not feasible, or tenable under the

circumstances. In order to be sustainable and to avoid potential hostility, plaintiffs

should be reinstated to positions of some authority, and the Court should consider

the possibility of promotion, especially for Lieutenant Donathan, who had received


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Chief Cook’s endorsement for an open Captain position prior to his termination.

Plaintiff Hunter should be reinstated, at the least, to the position of Major, and

plaintiff Medlin should be reinstated, at the least, to his rank of Detective.

         Further, each plaintiff is entitled to some assurance that the litigation has not

made a return to the MPD unfeasible. In that light, the legitimate concern remains

that if Christine Bralley continues in her role as town manager, as a direct superior

on the chain of command, problems could arise.1 Due to the litigation, and the fact

that all three plaintiffs were awarded punitive damages from Ms. Bralley, she

should be removed from the direct chain of command of the three plaintiffs.

Finally, the law enforcement certification of plaintiffs Hunter and Medlin should

be reinstated, as they have lapsed in the time period since their terminations. That

re-certification, obviously, would be a critical part of the make-whole doctrine.

         In the absence of reinstatement—if the Court finds that reinstatement is not

feasible or not practical—the Court should award full front pay, taking into

consideration the circumstances of each plaintiff, the loss of his career, and his

inability to gain meaningful employment in the time period since the terminations.

A jury of seven peers sat for eight days, listening to the testimony, and the

evidence of the actions of the defendants, and determined that each plaintiff should


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 Certainly, one would hope that a manager who has been found liable for the termination of three excellent officers
of the MPD, utterly without investigation, in the intentional violation of the law under the federal and state
Constitutions; and who had punitive damages assessed against her for her willful indifference to their rights, would
not retain her position of management over the employees of the MPD and the Town of Mocksville.

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be awarded full front pay, based on the damage defendants’ actions caused to the

plaintiffs, their respective careers, and the lives of their families and loved ones.

Plaintiffs request that—if reinstatement is not granted—that they be awarded the

front pay that the jury advised, based on their consideration of the evidence. If not

reinstated, it is very likely that none of these plaintiffs will ever have meaningful

careers in law enforcement again.

                                  Conclusion

      For the reasons stated above, each plaintiff should be awarded additional

equitable relief for the violations of their constitutional rights, as found by the jury.

Though the preference is reinstatement—both within the laws and of each plaintiff

individually—if the Court determines that reinstatement under the above just

terms, is either not practical or not feasible, the Court should award full

compensation in front pay to each plaintiff, as advised by the jury.


      This the 30th day of June, 2016.

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                         CERTIFICATE OF SERVICE

      I hereby certify that on June 30, 2016, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system which will send notification

of such filing to the following counsel for defendants:

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